                                                                                                   Case: 05-30027                     Document: 1             Filed: 04/09/05               Page 1 of 2
                                                                     (Official Form 1) (12/03)
                                                                     FORM B1
                                                                                                          United States Bankruptcy Court
                                                                                                                                                                                                         Voluntary Petition
                                                                                                              District of South Dakota
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                           Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Si Tanka University
                                                                      All Other Names used by the Debtor in the last 6 years                               All Other Names used by the Joint Debtor in the last 6 years
                                                                      (include married, maiden, and trade names):                                          (include married, maiden, and trade names):




                                                                      Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.                     Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.
                                                                      No. (if more than one, state all): XX-XXXXXXX                                        No. (if more than one, state all):
                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                     Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      435 North Elm Street
                                                                      Eagle Butte, SD 57625


                                                                      County of Residence or of the                                                        County of Residence or of the
                                                                      Principal Place of Business: Dewey                                                   Principal Place of Business:
                                                                      Mailing Address of Debtor (if different from street address):                        Mailing Address of Joint Debtor (if different from street address):
                                                                      P.O. Box 220
                                                                      Eagle Butte, SD 57625
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                                                                      Location of Principal Assets of Business Debtor
                                                                      (if different from street address above):

                                                                                                    Information Regarding the Debtor (Check the Applicable Boxes)
                                                                      Venue (Check any applicable box)
                                                                      ü  Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                         preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                         There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                                                                                    Type of Debtor (Check all boxes that apply)                                   Chapter or Section of Bankruptcy Code Under Which
                                                                           Individual(s)                     Railroad                                                       the Petition is Filed (Check one box)
                                                                      ü    Corporation                       Stockbroker                                        Chapter 7           ü
                                                                                                                                                                                    Chapter 11             Chapter 13
                                                                           Partnership                       Commodity Broker                                   Chapter 9           Chapter 12
                                                                           Other                             Clearing Bank                                      Sec. 304 - Case ancillary to foreign proceeding

                                                                                      Nature of Debts (Check one box)
                                                                                                         ü
                                                                                                                                                                                   Filing Fee (Check one box)
                                                                           Consumer/Non-Business      Business
                                                                                                                                                           ü    Full Filing Fee attached
                                                                              Chapter 11 Small Business (Check all boxes that apply)                            Filing Fee to be paid in installments (applicable to individuals only)
                                                                                                                                                                Must attach signed application for the court’s consideration
                                                                           Debtor is a small business as defined in 11 U.S.C. § 101                             certifying that the debtor is unable to pay fee except in installments.
                                                                           Debtor is and elects to be considered a small business under                         Rule 1006(b). See Official Form No. 3.
                                                                           11 U.S.C. § 1121(e) (Optional)
                                                                      Statistical/Administrative Information (Estimates only)                                                                    THIS SPACE IS FOR COURT USE ONLY

                                                                      ü   Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                          Debtor estimates that, after any exempt property is excluded and administrative expenses
                                                                          paid, there will be no funds available for distribution to unsecured creditors.
                                                                                                                1-15          16-49       50-99     100-199     200-999      1000-over
                                                                      Estimated Number of Creditors
                                                                                                                                                                   ü
                                                                      Estimated Assets
                                                                         $0 to      $50,001 to    $100,001 to   $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to    More than
                                                                        $50,000      $100,000      $500,000      $1 million     $10 million    $50 million   $100 million    $100 million
                                                                                                      ü
                                                                      Estimated Debts
                                                                         $0 to      $50,001 to    $100,001 to   $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to    More than
                                                                        $50,000      $100,000      $500,000      $1 million     $10 million    $50 million   $100 million    $100 million
                                                                                                                                      ü
                                                                     VOLUNTARY PETITION
                                                                                                       Case: 05-30027          Document: 1          Filed: 04/09/05                   Page 2 of 2
                                                                     (Official Form 1) (12/03)                                                                                                                  FORM B1, Page 2
                                                                     Voluntary Petition                                                            Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                        Si Tanka University
                                                                                                  Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
                                                                      Location                                                                     Case Number:                               Date Filed:
                                                                      Where Filed: None
                                                                          Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                              Case Number:                               Date Filed:
                                                                      None
                                                                      District:                                                                    Relationship:                              Judge:


                                                                                                                                         Signatures
                                                                                  Signature(s) of Debtor(s) (Individual/Joint)                                                           Exhibit A
                                                                      I declare under penalty of perjury that the information provided in this          (To be completed if debtor is required to file periodic reports
                                                                      petition is true and correct.                                                      (e.g., forms 10K and 10Q) with the Securities and Exchange
                                                                      [If petitioner is an individual whose debts are primarily consumer                Commission pursuant to Section 13 or 15(d) of the Securities
                                                                      debts and has chosen to file under Chapter 7] I am aware that I may              Exchange Act of 1934 and is requesting relief under chapter 11)
                                                                      proceed under chapter 7, 11, 12 or 13 of title 11, United State Code,            Exhibit A is attached and made a part of this petition.
                                                                      understand the relief available under each such chapter, and choose to
                                                                      proceed under chapter 7.                                                                                           Exhibit B
                                                                      I request relief in accordance with the chapter of title 11, United States                   (To be completed if debtor is an individual
                                                                      Code, specified in this petition.                                                            whose debts are primarily consumer debts)
                                                                                                                                                   I, the attorney for the petitioner named in the foregoing petition,
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                                                                      X                                                                            declare that I have informed the petitioner that [he or she] may proceed
                                                                          Signature of Debtor
                                                                                                                                                   under chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                                                                                                   explained the relief available under each such chapter.
                                                                      X
                                                                          Signature of Joint Debtor
                                                                                                                                                   X
                                                                          Telephone Number (If not represented by attorney)                             Signature of Attorney for Debtor(s)                               Date

                                                                                                                                                                                         Exhibit C
                                                                          Date
                                                                                                                                                   Does the debtor own or have possession of any property that poses or
                                                                                                  Signature of Attorney                            is alleged to pose a threat of imminent and identifiable harm to public
                                                                                                                                                   health or safety?
                                                                      X   /s/ Clair R. Gerry                                                           Yes, and Exhibit C is attached and made a part of this petition.
                                                                          Signature of Attorney for Debtor(s)
                                                                                                                                                   üNo
                                                                          Clair R. Gerry
                                                                          Printed Name of Attorney for Debtor(s)                                               Signature of Non-Attorney Petition Preparer
                                                                          Stuart, Gerry, & Schlimgen, Prof. LLC                                    I certify that I am a bankruptcy petition preparer as defined in 11
                                                                          Firm Name                                                                U.S.C. § 110, that I prepared this document for compensation, and that
                                                                                                                                                   I have provided the debtor with a copy of this document.
                                                                          P.O. Box 966, 507 West 10th Street
                                                                          Address
                                                                          Sioux Falls, SD 57101-0966                                                 Printed Name of Bankruptcy Petition Preparer

                                                                          (605) 336-6400                                                             Social Security Number (Required by 11 U.S.C. § 110(c).)
                                                                          Telephone Number
                                                                          April 9, 2005                                                              Address
                                                                          Date

                                                                                 Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this       Names and Social Security numbers of all other individuals who
                                                                      petition is true and correct, and that I have been authorized to file this     prepared or assisted in preparing this document:
                                                                      petition on behalf of the debtor.
                                                                      The debtor requests relief in accordance with the chapter of title 11,         If more than one person prepared this document, attach additional
                                                                      United States Code, specified in this petition.                                sheets conforming to the appropriate official form for each person.

                                                                      X   /s/ Francine Hall
                                                                                                                                                     X
                                                                          Signature of Authorized Individual
                                                                                                                                                          Signature of Bankruptcy Petition Preparer
                                                                          Francine Hall
                                                                          Printed Name of Authorized Individual
                                                                                                                                                          Date
                                                                          University President
                                                                          Title of Authorized Individual                                           A bankruptcy petition preparer’s failure to comply with the provisions
                                                                          April 9, 2005                                                            of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                          Date                                                                     in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                     VOLUNTARY PETITION
